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                       UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION




MEDIX STAFFING SOLUTIONS, INC., )
an Illinois corporation,        )
                                )
              Plaintiff,        )
                                )
VS.                             )
                                )                        CIVIL ACTION NO.
STEWARD HEALTH CARE             )
NETWORK, INC., a Delaware       )                        3:23-CV-0818-G
corporation, ET AL.,            )
                                )
              Defendants.       )




                             ORDER OF REFERENCE

      Under the authority of 28 U.S.C. § 636(b), the plaintiff’s motion to compel

the defendants’ substantive discovery responses and for attorneys’ fees (docket entry

22) is hereby REFERRED to United States Magistrate Judge David L. Horan for

a hearing, if necessary, and for determination.

      SO ORDERED.

July 31, 2023.

                                        ___________________________________
                                        A. JOE FISH
                                        Senior United States District Judge
